          Case 1:20-cv-02769-VSB Document 22 Filed 05/19/20 Page 1 of 22



UNITED STATES DISTRCIT COURT
SOUTHERN DISTRICT OF NEW YORK

------------------------------------------------------X
JOHN STANISE,

                          Plaintiff(s),
                                                                 Case No.: l:20-CV-02769-VSB
        V.


VICTOR LORIA,

                          Defendant(s).
------------------------------------------------------X




 PLAINTIFFS MEMORANDUM OF LAW IN OPPOSITION TO THE DEFENDANT'S
           MOTION FOR A TEMPORARY RESTRAINING ORDER




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             Case 1:20-cv-02769-VSB Document 22 Filed 05/19/20 Page 2 of 22



                                           TABLE OF CONTENTS

  PLAINTIFFS MEMORANDUM OF LAW IN OPPOSITION TO THE DEFENDANT'S
                       MOTION FOR A TRO


PRELIMINARY STA TEMENT......................................................... ....                         1

FACTUAL BACKGROUND ....................... ,. . ........ ........ .. . .. .... .. . ...........              2

ARGUMENT...................................................................................                  9

        I.       DEFENDANT HAS NOT MET THE EXTRAORDINARY
                 BURDEN REQUIRED TO OBTAIN A PRELIMINARY
                 INJlJNCTION .. .............. ...... ...... . ........ .................... ...... .        9

                          A. Defendant Has Not Shown a "Clear" or "Substantial"
                             Likelihood of Success on the Merits . . .... . ... . ........... .. .           9

                                    1. Defendant's Claim That He Has Been "Locked
                                         Out" From Oversight Over The Company's
                                         Medical Operations, Particularly, Its Compounding
                                         Labs is Untrue and is Offered as a Pre-Textual Basis
                                         for Loria to Gain Full Control of Lo rs tan ..........              10

                                    2. Defendant's Request for Expedited Relief Asking
                                       the Court to Allow Him to Open a New York
                                       Medical Facility ..... .. ... ...................... .... ...         11

                                    3. Defendant's Request For Injunctive Relief Requiring
                                       Stanise And Lorstan Employees To Perform Their
                                       Business Functions And Work With Dr. Loria As
                                       They pid Prior To This Dispute ..... . . ... .......... .             12

                          B. Defendant Has Not Shown a Likelihood of Irreparable
                             Harm .......... .......... . .. .......... ... ........... .. . .. ... ......   13

                          C. The Balance of Equities Tips Decidedly in Plaintiffs
                              Favor.............................................................             16

                          D. The Public Interest is Not Served by Granting Defendant's
                             Motion............................................................              17

CONCLUSION.................................................................................                  18
            Case 1:20-cv-02769-VSB Document 22 Filed 05/19/20 Page 3 of 22



                                           TABLE OF AUTHORITIES

Cases:

Abdul Wali v. Coughlin,
      754 F.2d 1015, 1025 (2d Cir. 1985) ..................... ... ....................... .

Benihana, Inc. v. Benihana of Tokyo, LLC,
      784 F .3d 887, 895 (2d Cir. 2015) .. ..... . ...... ........... .. .... .................. . .           9, 18

Borey v. Nat 'l Union Fire Ins. Co.,
      934 F.2d 30, 34 (2d Cir. 1995) ............................ ... ............. ... ... .                  15

Jayaraj v. Scappini,
       66 F.3d 36, 39 (2dCir.1995) ............... . ... ................. ......... ..... .. . ....           15

JSG Trading Corp. v. Tray-Wrap, Inc. ,
      917 F.2d 75 , 79 (2d Cir. 1990) ... .. .......... ........ ... .. ... ...................... .           13 , 14

NA.A. C.P. , Inc. v. Town of East Haven,
       70 F .3d 219, at 223 _(2d Cir. 1995) ... . ... ... . .. . .. . ...... . .... . .................... .   2

Reuters Ltd. V United Press, Intern, Inc.
       903 F.2d 904,907(2d Cir. 1990) ... . .... ......... ....................... . .......... .              13

Rodriguez v. DeBuono,
       175 F.3d 227,234 (2d Cir. 1999) .. .. . .. . ... .. .. ..................... . .... .. ....... .        16

Salinger v. Co/ting,
       607 F.3d 68,79 (2d Cir. 2010) ...... . .. .... .. ............... .. ........... . .. ... .. ... .      9

Shapiro v. Cadman Towers, Inc. ,
       51 F.3d 328, 332 (2d Cir. 1995) ............................ . .. .. ... ..... .. ...... . . .          14

Sierra Club v. Hennessy,
       695 F.2d 643 , 647 (2d Cir. 1982) ... ... . ............... ...... ... ... . ..... ...... . ... .       14

Somoza v. NYC Dep 't of Educ.,
      No. 06 CIV. 5025 (VM), 2006 WL 1981758,
      at *3 (S.D.N.Y. July 10, 2006) ....... ....... .......... ............... . ..... .. ...... .            9

Sweeney v. Bane,
      996 F.2d 1384, 1387 (2d Cir. 1993) .......... .......................... . ...... . ... .                14

Tom Doherty Associates, Inc. v. Saban Entm't, Inc. ,
     60 F.3d 27, 34 (2d Cir. 1995) ... .... . .. .................. . .................... ... . ..            9, 10



                                                              ii
               Case 1:20-cv-02769-VSB Document 22 Filed 05/19/20 Page 4 of 22



Statutes:

Fed.R.Civ.P. 65(a).... . ........................... .. . .. . . . . . . .. . . . . . . . . . . . . . . . . . . . .. . .. . . . . . ...   2, 9




                                                                             iii
          Case 1:20-cv-02769-VSB Document 22 Filed 05/19/20 Page 5 of 22



        Plaintiff, John Stanise (hereinafter "Stanise") by and through his undersigned counsel,

respectfully submits this Memorandum of Law in Opposition to the Motion for a Temporary

Restraining Order and Preliminary Injunction (the " Motion") filed by Defendant, Victor Loria

(hereinafter, " Defendant" or "Loria").

                                 PRELIMINARY STATEMENT


        Defendant's Motion for a Temporary Restraining Order and Preliminary Injunction is

entirely without merit. It is premised on a completely inaccurate factual narrative, a selective and

misleading recitation of the provisions of the Company ' s Operating Agreement, and a

misstatement of the applicable law. It is an impermissible invocation of the old adage that "the

best defense is a good offense." Defendant's motion is simply the latest act by an unfaithful

fiduciary intended to destroy the Company he co-owns with Plaintiff for the purpose of furthering

his own personal pecuniary interests. Defendant cannot show that he has a likelihood of success

on the merits or that he has, or will, suffer irreparable harm. In fact, the exact opposite is true:

Plaintiff, not Defendant, is likely to prevail on the merits of his claims and Plaintiff, not Defendant,

has, and will, suffer irreparable harm. Armed with the benefit of a complete and accurate factual

record, this Court should deny Defendant' s motion for injunctive relief and, instead, grant Plaintiff

injunctive relief, preventing the Defendant from destroying the Company.


         In response to the Complaint filed by the Plaintiff, arising out of Defendant's breach of

the Operating Agreement, which sets forth the rights and obligations of the parties with respect to

the company they jointly own, Lorstan Pharmaceutical, LLC, ("Lorstan" or the "Company"),

Defendant has filed not one, but two frivolous motions. In the present motion, Defendant seeks

injunctive relief asking the court to mandate action, that is, order the Plaintiff to (1) not hold




                                                   1
          Case 1:20-cv-02769-VSB Document 22 Filed 05/19/20 Page 6 of 22



defendant to the terms of the Operating Agreement and (2 ) to not fulfill his fiduciary and

contractual duties owed to the Company.


        Defendant's motion falls far short of demonstrating the necessary requirements to be

entitled to the extraordinary relief sought under the controlling facts, the governing law, and the

terms of the agreement. First, the motion is based on Defendant's false recitation of facts and

conclusory assertions based on that false premise. Moreover, laid bare, the motion is nothing more

than a conclusory recitation of the standards for the consideration of a motion for a preliminary

injunction under Fed.R.Civ.P. 65(a), failing to set forth anything in evidentiary form that

establishes that the defendant will suffer irreparable harm or either "(a) a likelihood of success on

the merits, or (b) sufficiently serious questions going to the merits and a balance of hardships

tipping decidedly toward the party seeking injunctive relief." N.A .A.C.P., Inc. v. Town of East

Haven, 70 F.3d 219, at 223_(2d Cir. 1995). Defendant cannot meet the heavy burden necessary to

obtain injunctive relief. For these and other reasons set forth below, the Court must deny

Defendant's application. Defendant' s improper attempts to prevent Lorstan from operating must

be stopped.


                                   FACTUAL BACKGROUND

       Mr. Stanise is a Certified Public Accountant and is the Chief Executive Officer ("CEO"),

as well as a 30% equity member, of Lorstan, sharing full operational control with his Partner,

Loria. Stanise Deel.   ,r 5. The remaining membership units of the Company are held and controlled
by Loria, a licensed cosmetic dermatologist. Stal}ise Deel.   ,r 5. Loria maintains a private medical
practice, Loria Medical, in Miami, Florida. Stanise Deel.     ,r 5. The Company was formed      in or

about May 19, 2016, with Stanise and Loria simultaneously entering into an Operating Agreement



                                                 2
          Case 1:20-cv-02769-VSB Document 22 Filed 05/19/20 Page 7 of 22



(the "Agreement"), which set forth the terms upon which the Company would be operated. Stanise

Deel.   16.
        Contrary to Defendant' s mischaracterization of the Company's business model, Lorstan is

not in the business of manufacturing or selling pharmaceutical products. Rather, Lorstan licenses

medical technology to licensee physicians to allow Lorstan licensees to compound Lorstan ' s

Patented Silicone Product (the "Product") under the auspices of the licensees' own medical

licenses, in accordance with a Lorstan Licensee Agreement. Stanise Deel.         1 10. Lorstan, by and
through, its licensed and specially trained pharmacist, operates four labs- in California, Texas,

Georgia, and Florida (still under construction)- within which the licensee doctors compound the

Product by retaining a Lorstan ' s trained pharmacist. Stanise Deel.     1 10.   Lorstan is paid a per

dosage fee each time a licensee physician compounds pursuant to the Lorstan Licensing

Agreement. Lorstan does not sell, nor is it allowed under the law to sell, pharmaceutical products.

Stanise Deel.   Ir 12. The Lorstan Licensee Agreement contains hold harmless language that
indemnifies Lorstan and the Defendant for any potential harm arising from the licensee physicians'

conduct, or the use of pharmaceuticals compounded by those licensee doctors, pursuant to the

Lorstan Licensee Agreement. Therefore, any claim by Loria concerning his potential legal

exposure is a knowingly feigned concern. Stanise Deel.    Ir 13. Loria also feigns concern for patient
safety. This is just another false narrative posited to mislead the Court.

        The business of Lorstan requires neither Lorstan, the Plaintiff, nor the Defendant to

compound pharmaceuticals. Rather, the Lorstan business model provides for a licensed

pharmacist, who has been trained by the Defendant, to sub-contract with Lorstan licensee

physicians and for that pharmacist to compound Lorstan' s patented Product under the auspices of

the licensee physician and his medical license. Stanise Deel. Ir 14. The compounding is performed



                                                  3
          Case 1:20-cv-02769-VSB Document 22 Filed 05/19/20 Page 8 of 22



by a licensed pharmacist within sterilized labs made available to the licensee physicians by virtue

of a Lab Usage Agreement. Stanise Deel. Jr 15. The labs used for compounding by licensee

physicians under the Lab Usage Agreements, which are located in Florida, Georgia, Texas and

California, are not owned by Lorstan. Rather, those labs are independently owned and held by

separate entities which Plaintiff and Defendant own in the same proportions that they own Lorstan.

Stanise Deel. Jr 16. Defendant's claims within his declaration that Lorstan owns and operates

compounding labs and that Lorstan manufacturers the Patented Silicone Product is a knowing

misstatement of fact. Stanise Deel.   Ir 17.
       Defendant's claim that Lorstan's ongoing operations is, in any way, dangerous or may lead

to patient harm is equally unfounded and is patently untrue. So too is any claim that Lorstan has

altered or changed the compounding process or the ingredients of the Product. This claim is the

product of Loria's misreading of Stanise's April 23, 2020 e-mail. Loria was explicitly told that

there was no change in the ingredients or procedure in an email dated April 27, 2020 and stated

again in a separate email dated April 28, 2020. Stanise Deel. Jr 18. Defendant's contention that he

is legally responsible for ensuring standards with respect to compounding facilities, methods, and

techniques is also not true. Lorstan does not, and cannot, compound pharmaceuticals. Stanise

Deel. Jr 19. It is the licensee physician and the licensed pharmacist who are legally responsible for

ensuring that the compounding is done appropriately, not Lorstan or the Defendant. Stanise Deel.

, 20. There is also no requirement to be a licensed pharmacist to compound pharmaceutical

products under the auspices of a doctor's license. Rather, the individual performing the

compounding need only be a person with the skills to compound and have the reasonable

confidence of the physician under whose auspices the compounding is being performed. Loria is

aware of these governing laws and the applicable requirements concerning compounding, yet



                                                 4
          Case 1:20-cv-02769-VSB Document 22 Filed 05/19/20 Page 9 of 22



misrepresents them to the Court in an effort to promote his personal financial gain, to the detriment

of the Company. Stanise Deel. Jr 21.

        With respect to ensuring that the compounding facilities are in compliance with federal ,

state and local standards and regulatory requirements, Lorstan has retained independent experts to

certify all labs used by licensee physicians for compounding the Lorstan product meet sterility

requirements and all applicable standards. Again, Defendant has had no role or responsibility in

this regard and his feigned concern over these issues must be given no credence. In fact, the

Defendant has refused to participate in, or otherwise provide technical support in this regard, thus

necessitating the hiring of an independent expert in the first instance. His claim that he is required,

or that he is concerned, with hypothetical patients' health is a red-herring, posited only for the

purpose of hindering, and potentially closing, Lorstan ' s business so that he can divert those

business opportunities to Loria Medical, in violation of the Operating Agreement and his fiduciary

duties. Stanise Deel. Jr 22.

        There is no requirement, either in practice or in law, that a doctor must supervise a

laboratory used for the purposes of compounding pharmaceuticals. Under the law, any individual

can own and/or manage a pharmacy of any kind, including a compounding lab, so long as they

employ qualified individuals to fulfill state law requirements. Stanise Deel. Jr 23.

       Defendant's role in the Company is, and has always been, to serve in a limited capacity as

the Company' s medical resource, whereby he was required to train licensees physicians on how to

use the pharmaceutical product and to provide technical advice as required regarding compounding

and medical procedure matters. Stanise Deel. Jr24. Neither Plaintiff, nor anyone on his staff has

interfered with Defendant' s limited role in the Company. Stanise Deel. 125. To the contrary, since




                                                  5
         Case 1:20-cv-02769-VSB Document 22 Filed 05/19/20 Page 10 of 22



January 2020 Loria has refused to perform these limited tasks, unless Stanise agrees to allow him

to open additional Loria Medical officers in contravention of the Agreement. Stanise Deel. Jr 25.

        There has been no effort to remove the Defendant from the "compounding operations,"

because the Defendant was never involved in any Lorstan compounding operations and because

Lorstan does not compound--the pharmacist compounds under the auspices of the licensee

physician pursuant to the Lorstan Licensee Agreement. Stanise Deel. Jr 26. The Defendant has not

been locked out of any labs and the pharmacist trained by the Defendant to conduct compounding

in accordance with Lorstan Licensee Agreements has not been instructed to "not speak with" the

Defendant as is claimed in Defendant's Declaration. Stanise Deel. Jr27. The Defendant has never

had keys to any of the laboratories and has only recently sought access to the laboratory amid this

dispute as a further basis to claim that he has been aggrieved. Stanise Deel. Jr 28. Plaintiff has

refused to provide the keys because of his concern that, given the current dispute, if the Defendant

is provided keys to access the laboratories direcdy, for which he would have no business purpose,

it will result in the laboratories being damaged or sabotaged by the removal of necessary supplies.

Stanise Deel. Jr 28. This concern was re-affirmed when Loria, without notice or justification, closed

the Company's Operating bank account and emptied it of funds.

        With respect to the Defendant' s allegation that communication was made on April 23 , 2020

to the Defendant advising that there is any intent to modify or change the ingredients in the

Patented Silicone Product and the method that it is compounded, no such communication ever

occurred. Stanise Deel. Jr 29. Rather as can be seen in the email correspondence exchange between

Plaintiff and Defendant, Defendant is mischaracterizing a comment within the email made about

lab sterilization prerequisites and offering further mistruths to this Court. Stanise Deel. Jr 29.




                                                   6
             Case 1:20-cv-02769-VSB Document 22 Filed 05/19/20 Page 11 of 22



Defendant has sought to manufacture a conflict and develop a false narrative, while refusing to

abide by the terms of the Company' s Operating Agreement and refusing to serve as a medical

resource, by inter alia, refusing to train doctors and refusing to provide technical assistance with

respect to medical and pharmaceutical matters. Stanise Deel.    Jr 30.
        The Defendant' s conduct has strained the relationship between Lorstan and their trained

pharmacist, who is not an employee of Lorstan and who is not paid a salary, despite Defendants

contention to the contrary. Specifically, Defendant overtly threatened the pharmacist's

professional license, leading to her temporary resignation and creating barriers for her continuing

under the existing arrangement, whereby she had previously agreed to sub-contract with Lorstan

Licensee physicians to perform compounding. Stanise Deel.       Jr 31.
        Defendant through this motion is seeking to open additional medical offices, including one

in New York, that would allow him to compete with, co-opt, or otherwise subvert potential patients

away from, Lorstan licensee physicians, thereby harming Lorstan' s economic interests. Stanise

Deel.   ,r   30-32. Defendant has approached a number of Lorstan licensee physicians, and/or

potential Lorstan licensee physicians about those physicians joining his Loria Medical Practice, in

the process undermining the Lorstan business model of developing a network of licensee

physicians for the purpose of furthering Defendant' s own substantial economic benefit, which

comes directly at the expense of Lorstan. Stanise Deel.   ,r 32-34. The opening of a New York based
Loria Medical office and the solicitation of Lorstan physicians to work within Loria Medical

offices is violative of the Lorstan Operating Agreement. Stanise Deel.   ,r 37.




                                                 7
         Case 1:20-cv-02769-VSB Document 22 Filed 05/19/20 Page 12 of 22



        The First Amendment to the Lorstan Operating Agreement further revises Section 17.1 to

        state as follows:


                    " 17.1 No Other Obligations. Except as otherwise set forth herein,
                    no Member (including its directors, officers, employees,
                    shareholders, and Affiliates) shall have any obligation to any other
                    Member or the Company to present any business opportunity to
                    the company or to refrain from taking any such opportunity for its
                    own account individually or as a partner, member, shareholder, or
                    otherwise) or from recommending any such opportunity to others,
                    or to refrain from engaging in any business or possessing an
                    interest in any other venues of any nature or description,
                    independently or with others, for its own account; provided
                    however,

                (b) Dr. Victor Loria shall not pursue, directly or indirectly, other than
                    through Company or a management company which is a
                    subsidiary of Company, any commercial ventures relating to
                    the opening of multiple medical offices.

                (c) Dr. Victor Loria shall not pursue, directly or indirectly, other than
                    through Company, any commercial ventures derived from the
                    introduction of Dr. Loria to any Person by John Stanise." (See
                    Exhibit "A" p. 2 ,r 3.)



        Defendant, by seeking to open a New York based Loria Medical Office and by soliciting

current licensees, some of whom were introduced to the Defendant by Stanise, to join Defendant

in the opening up of new offices under the Loria Medical brand name, is in direct violation of

Paragraphs 17 .1 (b) and (c) of the First Amendment of the Lorstan Operating Agreement. Stanise

Deel. Jr 41 . The First Amendment to the Operating Agreement was entered into for the very purpose

of preventing this exact conduct by the Defendant and avoiding a circumstance whereby Lorstan

and Lorstan licensee physicians were caused to compete against the Defendant and his Loria

Medical practice. Stanise Deel. Jr 43 .




                                                  8
           Case 1:20-cv-02769-VSB Document 22 Filed 05/19/20 Page 13 of 22



                                                  ARGUMENT


     I.        DEFENDANT HAS NOT MET THE EXTRAORDINARY                                                  BURDEN
               REQUIRED TO OBTAIN A PRLEIMINARY INJUNCTION

          A preliminary injunction "is an extraordinary remedy never awarded as of right. In each

case, courts must balance the competing claims of injury and must consider the effect on each

party of the granting or withholding of the requested relief. In exercising their sound discretion,

courts of equity should pay particular regard for the public consequences in employing the

extraordinary remedy of injunction." Salinger v. Colling, 607 F .3d 68,79 (2d Cir. 2010). 1


          A party seeking preliminary injunction must establish 1) either a likelihood of success on

the merits, or the existence of a sufficiently serious question going to the merits to make them fair

ground for litigation, 2) a likelihood that it will experience irreparable harm in the absence of such

interim relief, 3) that the balance of comparative hardships tips decidedly in its favor and (4) that

the public interest would not be disserved by the issuance of an injunction .. Benihana, Inc. v.

Benihana ofTokyo, LLC, 784 F.3d 887, 895 (2d Cir. 2015)); Fed. R. Civ. P. 65(a).


          A.      Defendant Has Not Shown a "Clear" or "Substantial" Likelihood of Success
                  on the Merits

          The principal purpose of a preliminary injunction is to preserve the status quo while the

parties resolve their dispute in litigation. Most injunctions are, therefore, limited to prohibitory

relief. Where, as is the case here, a party seeks a mandatory injunction that commands a positive

act, the standard is even higher. A mandatory injunction should issue "only upon a clear showing

that the moving party is entitled to the relief requested, or where extreme or very serious damage

will result from a denial of preliminary relief." Tom Doherty Associates, Inc. v. Saban Entm't, Inc .,


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  It is well established that in this Circuit, the standard for an entry of a TRO is the same as for a preliminary
injunction ." Somoza v. NYC Dep't of Educ., No. 06 CIV. 5025 (VM), 2006 WL 1981758, at *3 (S.D.N .Y. July 10, 2006).

                                                         9
         Case 1:20-cv-02769-VSB Document 22 Filed 05/19/20 Page 14 of 22



60 F.3d 27, 34 (2d Cir. 1995) (quoting Abdul Wali v. Coughlin, 754 F.2d 1015, 1025 (2d Cir.

1985)). Defendant' s request for preliminary reliefrequires a significant alteration of the status quo

by asking the court to provide mandatory relief, which affirmatively allows him to violate the

unequivocal language in the Agreement. The Operating Agreement clearly and unambiguously

bars him from opening new offices. Despite agreeing to these terms, the defendant is asking the

court for injunctive relief to enable him to do precisely what he is contractually forbidden from

doing, i.e. to open up a New York office, to obtain keys to access compounding labs which he has

no oversight over and no right to access, and to permit him to take actions which he is not

contractually required or otherwise entitled to take.      Defendant has not made the clear and

substantial showing necessary to obtain mandatory injunctive relief by showing that is he entitled

to the relief requested, or that very serious damage will result from a denial of preliminary relief.


       Defendant has produced no evidence to support his application and cannot seriously

suggest that he is entitled to a preliminary injunction on the absence of any showing that he has a

likelihood of success on the merits. In fact, the plain wording of the Operating Agreement

mandates a completely contrary result. Defendant's request rests on false premises and

mischaracterization of facts. His requested relief asks the court to mandate actions which actions

are in direct violation of the Lorstan Operating Agreement and therefore, must be denied.


       1. Defendant's Claim That He Has Been "Locked Out" From Oversight Over the
           Company's Medical Operations, Particularly, its Compounding Labs is Untrue
           and is Offered as a Pre-Textual Basis for Loria to Gain Full Control of Lorstan

       Defendant's role in the Company is, and has always been, to serve in a limited capacity to

provide technical support on medical and pharmaceutical matters, whereby he was required to train

licensees physicians on how to use the pharmaceutical product and to provide technical advice as

required regarding compound and medical procedure matters. He has never had keys to the

                                                 10
             Case 1:20-cv-02769-VSB Document 22 Filed 05/19/20 Page 15 of 22



independently owned compounding labs, nor has he had any responsibility for oversight of these

labs. These labs are independently owned, and Loria has no business purpose or contractual right

to enter them. Defendant's claim that he has been locked out of Lorstan's medical operations,

particularly the compounding labs, is simply untrue. These claims are offered to the Court as a

pre-text to allow Loria to usurp full operational control and authority, so as to allow Loria to

continue to interfere with and sabotage the success of Lorstan in furtherance of his scheme to co-

opt and misappropriate Lorstan business opportunities for his own personal benefit. Defendant

offers no evidentiary support for the argument that this requested relief should be granted.


            2. Defendant's Request for Expedited Relief Asking the Court to Allow Him to
               Open a New York Medical Facility

            Defendant's conduct, including his refusal to abide by the terms of the Company's

Operating Agreement, his refusal to perform his contractual duties and obligations, by inter alia,

refusing to train doctors, refusing to provide technical assistance with respect to medical

pharmaceutical matters, by threatening to open new medical offices in direct competition with

Lorstan and by refusing to make needed pro rata capital contributions, is part of Loria' s scheme to

force Plaintiff to renegotiate the terms of the Operating Agreement. Loria' s plan to open a

competing medical facility in New York is in direct violation of the unequivocal terms of

Paragraphs 17.1 (b) and (c) of the Second Amendment of the Lorstan Operating Agreement. 2

Certainly, Defendant is not entitled to injunctive relief allowing him to breach the very terms of




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    The First Amendment further revises Section 17. 1 to state as follows:

(b)      Dr. Victor Loria shall not pursue, directly or indirectly, other than through Company or a management
company which is a subsidiary of Company, any commercial ventures relating to the opening of multiple medical
offices.

(c)      Dr. Victor Loria shall not pursue, directly or indirectly, other than through Company, any commercial
ventures derived from the introduction of Dr. Loria to any Person by John Stanise." (See Exhibit " B" p. 2 ~ 3.)

                                                            11
         Case 1:20-cv-02769-VSB Document 22 Filed 05/19/20 Page 16 of 22



the Agreement and which would moot this action. Loria' s claim that at one time he had an office

in New York does not vitiate his contractual obligation requiring him not to open any new medical

facilities and not to solicit potential Lorstan licensee physicians to join any such new offices. In

fact, Loria' s closing of his prior New York based office was made as part of the agreement to

execute the First Amendment to the Operating Agreement. The First Amendment to the Operating

Agreement was entered into for the very purpose of preventing this exact conduct by the Defendant

and avoiding a circumstance whereby Lorstan and Lorstan licensee physicians were caused to

compete against the Defendant and his Loria Medical practice. Loria has not shown a likelihood

of success as to how he would prevail on the merits, where Loria is seeking to act directly in

contravention to the Operating Agreement.

        3. Defendant's Request for Iniunctive Relief Requiring Stanise and Lorstan
           Employees to Perform their Business Functions and Work with Dr. Loria as They
           Did Prior to this Dispute

       Defendant assertions--with no factual support or evidence-- that Stanise and other "Lorstan

employees" are breaching the terms of the Operating Agreement are both vague and unfounded.

Contrary to these contentions, Stanise has been actively attempting to continue to operate Lorstan,

despite Loria' s failure to provide his financial contribution, and disruptive conduct and his failure

to perform his limited duties, by refusing to train doctors and refusing to provide technical

assistance with respect to medical pharmaceutical matters. In addition, Loria has interfered with

Lorstan 's trained pharmacist, who is not an employee of Lorstan and who is not paid a salary, by

threatening her professional license, leading to her temporary resignation and creating barriers for

her continuing under the existing arrangement whereby she had previously agreed to sub-contract

with Lorstan Licensee physicians to perform compounding. Under these facts and circumstances,

defendant has not made any showing that 1) Stanise and Lorstan Employees are not performing


                                                 12
         Case 1:20-cv-02769-VSB Document 22 Filed 05/19/20 Page 17 of 22



their business functions and 2) that he will likely succeed on the merits in any regard with respect

to his any of his asserted claims for relief, let alone that he has a clear likelihood of success on the

merits. Accordingly, he is not entitled to the injunctive relief sought herein.


        Loria claim that an injunction should be issued requiring Stanise to share the Company's

financial information with him is, like his other arguments, a strawman. Stanise, at Loria's request,

has been, and continues to, provide all of the Company' s financial records to Loria' s accountant.

In addition, Loria has remote password protected access to all of Lorstan' s - and the entities that

own the labs - bank accounts. Loria already has the access that he asks the Court to grant him.

This request, for relief he already has, undermines the bona tides of the remainder of Loria's

application.


        B.      Defendant Has Not Shown a Likelihood of Irreparable Harm


        Defendant's application for a preliminary injunction must be denied because he has failed

to demonstrate that he will suffer any harm, let alone, irreparable, harm in the absence of injunctive

relief. "Irreparable harm is the single most important prerequisite for the issuance of a preliminary

injunction." Reuters Ltd. V United Press, Intern, Inc. 903 F.2d 904,907(2d Cir. 1990). Further,

irreparable harm must be shown by the moving party to be imminent, not "remote or speculative."

Reuters, 903 F.2d at 907. The movant must establish not a mere possibility of irreparable harm,

but that it is likely to suffer irreparable harm if equitable relief is denied. JSG Trading Corp. v.

Tray-Wrap, Inc. , 917 F.2d 75, 79 (2d Cir. 1990). Defendant argues, with no evidence or factual

support, that without injunctive relief he will suffer irreparable harm from potential lawsuits if

patients are harmed (2) the potential loss of his medical license if he is sued, (3) financial hardship

from the loss of potential personal income if not allowed to open a New York office. None of

these arguments has any merit. They are premised entirely on lies and intentional

                                                  13
         Case 1:20-cv-02769-VSB Document 22 Filed 05/19/20 Page 18 of 22



misrepresentations. Apparently, Loria will stop at nothing to further his own personal financial

interests to the detriment of the Company.


        Defendant cannot make the showing of irreparable harm necessary to justify the

extraordinary relief of a preliminary injunction. "[U]nless a movant can show 'an injury that is

neither remote nor speculative, but actual and imminent and that cannot be remedied by an award

of monetary damages." Shapiro v. Cadman Towers, Inc., 51 F.3d 328,332 (2d Cir. 1995); see also

Sweeney v. Bane, 996 F.2d 1384, 1387 (2d Cir. 1993) (upholding denial of preliminary injunction

seeking to prevent erroneous Medicaid co-payments because harm was purely financial). In the

absence of a showing of irreparable harm, a motion for a preliminary injunction should be denied.

See JSG Trading Corp. v. Tray-Wrap, Inc., 917 F.2d 75, 80 (2d Cir. 1990); Sierra Club v.

Hennessy, 695 F.2d 643,647 (2d Cir. 1982).


        Defendant cannot show, and has not shown, a likely and imminent threat of harm. Loria's

principal argument is far- fetched and completely speculative. First, he argues that without an

injunction he will be locked out of Lorstan's compounding labs which would prevent him from

conducting oversight of them-<lespite having never exercised any active "oversight" over the

compounding labs prior to this dispute arising. Second, he extrapolates from this false premise that

this could result in patient harm-fabricating a false narrative that Plaintiff plans to change the

compounding process despite clear email correspondence demonstrating to the contrary. Third, he

continues to extrapolate by musing that this could potentially expose him to lawsuits from

licensees and patients-<lespite the existence of protective hold harmless and indemnification

clauses within the licensing and trainings agreements. Using these false assertions, defendant leaps

to the unfounded and totally speculative claim that if he is not given the keys to the independently

owned and operated labs, he will lose his medical license. Defendant knows, and is fully aware,

                                                14
         Case 1:20-cv-02769-VSB Document 22 Filed 05/19/20 Page 19 of 22



that any Lorstan Product compounded pursuant to the Company' s licensing agreements is done

under the auspices of the licensee physicians' medical license, not his, and therefore subjects Loria

to no potential exposure. The facts completely belie Loria' s patently false assertions built upon his

false narrative. First, Lorstan does not own any labs. The compounding labs are independently

owned and not subject to oversight by Loria. Second, Lorstan does not, and cannot, compound

pharmaceuticals. The compounding is done by a licensed pharmacist under the licensee

physician' s medical license pursuant to the Lab Usage Agreement. Third, neither Lorstan nor

defendant is in any way responsible for ensuring that the compounding is done appropriately.

Fourth, the Lorstan Licensee Agreement contains hold harmless language that indemnifies Lorstan

and the Defendant for any potential harm arising from the licensee physicians conduct or the use

of pharmaceuticals compounded pursuant to the Lorstan Licensee Agreement. Fifth, Defendant

has no responsibility for oversight of the labs as Lorstan has retained independent experts to certify

all labs used by licensee physicians for compounding the Lorstan product meet sterility

requirements and all applicable standards, sufficient to allay any assertion of a threat to the public

health. In the face of these incontrovertible facts, Defendant cannot demonstrate that there is any

threat of irreparable harm, let alone imminent and likely harm of any sort. "A mere possibility of

irreparable harm is insufficient to justify the drastic remedy of a preliminary injunction." Borey v.

Nat 'l Union Fire Ins. Co., 934 F .2d 30, 34 (2d Cir. 1995).

       Finally, as Defendant admits, any loss he claims from not obtaining injunctive relief

allowing him to open a New York office is a financial one--he claims to face the loss of the ability

to support himself if he is not allowed to open a New York office. Irreparable harm is an " injury

for which a monetary award cannot be adequate compensation." Jayaraj v. Scappini,66 F.3d 36,

39 (2dCir.1995). Any threatened harm from the defendant's inability to open an New York office



                                                 15
         Case 1:20-cv-02769-VSB Document 22 Filed 05/19/20 Page 20 of 22



is compensable with monetary damages. Moreover, Defendant has a medical office and practice

in Florida and is simply seeking to expand that practice for his own financial gain. In addition, he

explicitly agreed in the Operating Agreement that he would NOT open multiple offices. Loria

seeks, by his application, for the Court to completely disregard the prohibition that he expressly

his smacks of true bad faith. For this reason alone, Loria cannot show irreparable harm.

Accordingly, he is not entitled to injunctive relief. Indeed, "[i]n the absence of a showing of

irreparable harm, a motion for a preliminary injunction should be denied. " Rodriguez v. DeBuono ,

175 F.3d 227, 234 (2d Cir. 1999).

        C.     The Balance of Equities Tips Decidedly in Plaintiff's Favor


        Despite Defendant's false narrative, there is no question that the equities tip decidedly in

Plaintiff's favor. The relief requested by Defendant directly threatens Lorstan' s continued

existence and is nothing more than a request of this Court to sanction Loria' s violative behavior.

Essentially, Loria is asking the court to mandate that he be allowed to breach the terms of the

Operating Agreement by allowing him to open up competing medical facilities in direct

competition with Lorstan and in violation of the Agreement. Defendant admits that he is pursuing

opening new commercial businesses to provide the same services as those provided by Lorstan to

licensee doctors and potential new licensees. Loria' s new offices would be in direct competition

with Lorstan and would threaten its viability. Defendant's intent is manifestly clear; he is seeking

to capitalize on presently available business opportunities that have been developed by and for

Lorstan, for his own personal gain. The relief requested by the Defendant effectively allows him

to cease Lorstan operations under the guise of applying his "medical oversight." Loria' s argument

with respect to oversight is nothing more than Defendant' s attempts to develop a pre-text to support

his continued breaches of the Agreement. Loria' s refusal to train doctors, to provide technical


                                                 16
         Case 1:20-cv-02769-VSB Document 22 Filed 05/19/20 Page 21 of 22



assistance with respect to medical pharmaceutical matters, and to make pro rata capital

contributions completely upends his claim that the balance of equities tips in his favor. Loria is

attempting to force his partner to accede to an unfavorable renegotiation of the Lorstan Operating

Agreement that would allow Loria to misappropriate Lorstan' s present and future business

opportunities and deprive Stanise of the benefits of his bargin In contrast, Plaintiff seeks nothing

more than to hold Loria to the agreed upon terms of the Operating Agreement and to see the

Company continue to develop and grow. Clearly the balance of equities tip in favor of the Plaintiff,

who has continually sought to abide to both the letter and spirit of the Lorstan Operating

Agreement, even in the face of Loria's obstructionist behavior.


        D. The Public Interest is Not Served by Granting Defendant's Motion


        The public harm that Defendant touts is imaginary, if not entirely feigned for the purpose

of attempting to sway this Court. Loria would have this Court believe that in the absence of him

being granted 100% operational control, that there is an imminent risk of harm to the public. In

fact, the opposite is true. Plaintiff, despite the lack of support from Loria, has developed a fully

compliant pharmaceutical company that operates within all applicable laws and regulations and

that retains licensed and trained professionals and experts as necessary to ensure Lorstan' s and

Lorstan' s Product's safety and compliance. It is defendant who is failing to perform the duties he

is obligated to provide, like medical and technical support, thus causing Lorstan to have to rely on

outside consultants for such expertise. Loria' s obfuscation of the true facts with claims of financial

harm have nothing to do with harm to the public and everything to do with his interest in increasing

his own financial wealth at the expense of Lorstan. The public interest is not served by mandating

action through a preliminary injunction which would result in the whole sale disregard of

contractual obligations, especially when that conduct would result in the destruction of a small

                                                  17
         Case 1:20-cv-02769-VSB Document 22 Filed 05/19/20 Page 22 of 22



company. Rather the public interest here is served by the enforcement of the parties' lawful

agreement, and this factor overwhelmingly favors the Plaintiff. See, Benihana America. Benihana,

Inc. v. Benihana ofTokyo, LLC, 784 F.3d 887, 898 (2d Cir. 2015)


                                          CONCLUSION


       For all of the foregoing reasons, Plaintiff respectfully requests that this Court deny

Defendant' s motion for a temporary restraining order and preliminary injunction in its entirety and

award Plaintiff such other and further relief as this Court deems just, proper and fair.

Dated: New York, New York
       May 19, 2020
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                                                 18
